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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ERICA FRASCO, et al.,                              Case No. 3:21-cv-00757-JD
                                                        Plaintiffs,
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                                                                                            ORDER RE CO-LEAD COUNSEL
                                                 v.
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                                                                                            Re: Dkt. No. 63
                                  10     FLO HEALTH, INC., et al.,
                                                        Defendants.
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                                  13          Plaintiffs in this consolidated class action have requested the appointment of interim lead

                                  14   counsel under Federal Rule of Civil Procedure 23(g). As a general proposition, the Court is

                                  15   reluctant to appoint interim counsel because it is rarely necessary for case management and can

                                  16   preempt the question of who should be named as class counsel when certification is granted. Even

                                  17   so, each case is considered on its own, and plaintiffs have proposed a leadership structure that will

                                  18   promote the fair and efficient management of this litigation. Dkt. No. 63. The proposal also

                                  19   accommodates the Court’s strong interest in diversifying lead counsel appointments. Dkt. No. 59.

                                  20          Consequently, pursuant to Federal Rule of Civil Procedure 23(g)(3), the Court appoints

                                  21   Carol C. Villegas of Labaton Sucharow LLP, Diana J. Zinser of Spector Roseman & Kodroff,

                                  22   P.C., and Christian Levis of Lowey Dannenberg, P.C. to serve as interim co-lead class counsel

                                  23   (“Co-Lead Counsel”) in the Consolidated Action. While the factors in Rule 23(g)(1) are not,

                                  24   strictly speaking, applicable to interim counsel, they provide a useful framework to evaluate

                                  25   appointments. In that respect, plaintiffs’ motion and supporting materials indicate that Co-Lead

                                  26   Counsel have performed substantial work on behalf of the proposed class to date, have worked

                                  27   toward streamlining the cases in this Court, and have sufficient experience and applicable

                                  28   knowledge necessary to effectively represent the proposed class. The Court declines to make any
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                                   1   other appointments at this time, and entrusts staffing decisions to Co-Lead Counsel’s discretion, as

                                   2   guided by the following requirements.

                                   3                              AUTHORITY AND RESPONSIBILITIES

                                   4          1.      Co-Lead Counsel have full authority over, and responsibility for, plaintiffs’

                                   5   participation in the following matters: (1) the initiation, response, scheduling, briefing, and

                                   6   argument related to all pleadings or motions; (2) the scope, order, and conduct of all discovery

                                   7   proceedings; (3) expert retention and reports; (4) designating the appearance of plaintiffs’ counsel

                                   8   at hearings and conferences; (5) leading common settlement negotiations and entering into

                                   9   prospective agreements with defendants; (6) receiving and distributing among plaintiffs’ counsel,

                                  10   as appropriate, notice of all Court orders and notices of pretrial conferences and acting as the

                                  11   primary contact between the Court and plaintiffs’ counsel; and (7) all other matters concerning the

                                  12   efficient and economical conduct of the consolidated action. Defendants’ counsel may rely on the
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                                  13   conduct and representations of Co-Lead Counsel for any issue in the litigation.

                                  14          2.      Co-Lead Counsel are also responsible for: (a) assigning work to other plaintiffs’

                                  15   counsel, as may be appropriate and in the putative class’s best interest; (b) implementing time and

                                  16   expense record keeping policies; (c) collecting time and expense reports from all plaintiffs’

                                  17   counsel on a monthly basis; (d) acting as the treasurer for any litigation fund assessments and

                                  18   expenses; and (e) otherwise ensuring that plaintiffs’ counsel not perform common benefit work,

                                  19   bill for unnecessary read and review time, or attend hearings, depositions, or other events without

                                  20   Co-Lead Counsel’s authorization.

                                  21                                      FEES, COSTS, AND EXPENSES

                                  22          3.      Co-Lead Counsel are expected to be vigilant in ensuring the efficient and

                                  23   economical prosecution of this matter. A request for an award of fees and costs may be based

                                  24   only on records that were prepared as the fees and costs were incurred. A prolonged forensic

                                  25   accounting exercise or a mini-trial on fees and costs are to be avoided. To that end, Co-Lead

                                  26   Counsel will ensure that the following practices are adhered to by all counsel who perform work

                                  27   on behalf of the putative class:

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                                   1                  a.      At the close of each calendar month, Co-Lead Counsel will make sure that

                                   2   all time has been entered by all timekeepers in final form. By 14 days after each month’s end, Co-

                                   3   Lead Counsel will ensure that a bill for the prior month is finalized, reflecting lead counsel’s

                                   4   review of the billing records and any write-downs or write-offs by Interim Co-Lead Class Counsel

                                   5   for inefficiencies, duplication of effort, misjudgments in staffing, and the like. These final bills for

                                   6   each month will be segregated and kept by Co-Lead Counsel, and may not be altered. Only these

                                   7   records, prepared contemporaneously with the expenditures, may be used for a fees and costs

                                   8   motion.

                                   9                  b.      Time will be recorded in one-tenths of an hour.

                                  10                  c.      Block-billing time records are not permitted. Timekeepers must itemize the

                                  11   time expended on specific tasks in sufficient detail to ascertain whether the amount of time spent

                                  12   performing those tasks was reasonable.
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                                  13                  d.      Co-Lead Counsel are free to make staffing decisions as they deem

                                  14   appropriate, but the Court will not permit fees to be recovered for multiple attorneys performing

                                  15   duplicative work. For example, barring an unusual circumstance, no more than two lawyers

                                  16   should bill for attendance at most fact depositions. The Court will not permit the recovery of fees

                                  17   for every attorney from every firm to review each discovery request and response, motion, letter,

                                  18   e-mail, etc. in the case. While each attorney should stay informed about the litigation, only the

                                  19   attorneys designated by Co-Lead Counsel to review or summarize pleadings, orders and

                                  20   communications are working for the common benefit of the putative class, and only their time will

                                  21   be considered for possible payment at the conclusion of this case.

                                  22                  e.      Domestic air travel of less than six hours should be billed at coach class

                                  23   rates regardless of the class flown. Travel exceeding six hours of flight time may be booked in

                                  24   business class. In all cases, flights should be booked at the lowest available fare.

                                  25                  f.      When overnight travel is necessary, counsel should be mindful in selecting

                                  26   reasonable hotel accommodations and restaurants. Per diem expenses for travel days should not

                                  27   exceed $125 per person exclusive of lodging and transportation.

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                                   1          Co-Lead Counsel understand that a failure to adhere to these guidelines, or the spirit

                                   2   animating them, will result in the exclusion of consideration for the relevant fee or cost request.

                                   3          IT IS SO ORDERED.

                                   4   Dated: October 12, 2021

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                                                                                                     JAMES DONATO
                                   7                                                                 United States District Judge
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